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 Matthew T. Christensen, ISB: 7213
 Chad R. Moody, ISB: 9946
 ANGSTMAN JOHNSON
 199 N. Capitol Blvd., Ste. 200
 Boise, ID 83702
 Phone: (208) 384-8588
 Fax: (208) 629-2157
 Email: mtc@angstman.com
         chad@angstman.com

 Attorneys for Debtor in Possession

                                UNITED STATES BANKRUPTCY COURT

                                           DISTRICT OF IDAHO

  In re:                                              Case No. 20-40734-JMM

  DEWIT DAIRY,                                        Chapter 11

                     Debtor.


                           FIRST APPLICATION FOR ALLOWANCE OF
                           INTERIM FEES AND COSTS FOR COUNSEL

           Matthew T. Christensen of the firm Angstman Johnson applies to the court for allowance

 of attorneys’ fees and costs pursuant to 11 U.S.C. § 331. Applicant respectfully states and

 represents to the Court that:

           1.       Applicant is the attorney of record for DeWit Dairy, the above-named Debtor-in-

 Possession (“Debtor”),and makes this application for allowance of compensation for professional

 services rendered, and for reimbursement for actual necessary costs and expenses incurred since

 the commencement of this case.

           2.       All services for which compensation is requested by your applicant were

 performed for and on behalf of said Debtor, and not on behalf of any committee, creditor, or




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 other person. Each attorney involved in the services for which compensation is requested are

 specifically identified on the attached Exhibit A and incorporated herein by reference.

           3.       Payment of the attorneys’ fees and costs and the payment of these fees and costs

 should be made pursuant to the Contract of Employment attached to the Application to Employ

 Counsel as Exhibit A (Dkt. No. 4).

           4.       Applicant, or other members of Angstman Johnson, has rendered services to the

 Debtor in the manner described on the attached Exhibit B, which is by this reference made a part

 hereof.

           5.       Further, the applicant sustained, and incurred expenses and/or costs of Court

 described and itemized in the statement attached hereto as Exhibit B, in connection with

 applicant’s function and activities as attorney for the Debtor. A narrative summary of

 professionals’ fees and expenses is attached hereto as Exhibit C.

           6.       The fees requested by this Application shall not be shared with any other party

 outside the applicant’s law firm.

           7.       The Applicant currently holds approximately $27,768.00 in a client trust account

 with which to pay the fees requested. Assuming this Application is approved, there will remain a

 balance of $0.00 in the trust account. The remaining fees and costs allowed will be paid by the

 Debtor on an ongoing basis from funds received from selling equipment or other assets of the

 Debtor. The Debtor will make payments of $5,000.00 per month until the balance of approved

 fees/costs are paid, or until a Plan is confirmed, whichever occurs first.

           8.       The rate of compensation of the attorneys was detailed in the Contract of

 Employment attached to the Application to Employ Counsel as Exhibit A, which application was

 approved by Court order on October 20, 2020 (Dkt. No. 58). In conformity with that rate (which


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 is subject to adjustment annually), the reasonable value of the services rendered by your

 applicant as attorney for the Debtor in this case, including costs/expenses and disbursements

 incurred, since the last application for interim fees (if any) was filed is $50,077.96.

          9.        At the time the Debtor’s bankruptcy was filed, the applicant retained the sum of

 $27,768.00.

          10.       The Debtor has reviewed this application and approved the application and

 amounts requested.

          WHEREFORE, the applicant prays that an allowance be made in the sum of $48,036.50

 for time and services rendered on the Debtor’s behalf, and $2,041.46 as and for reimbursements

 for expenses incurred by applicant for a total of $50,077.96 as part of the costs and expenses of

 the representation of the Debtor in the above-named bankruptcy case.



          DATED this 12th day of February, 2021.

                                                          /s/ Matt Christensen
                                                     MATTHEW T. CHRISTENSEN
                                                     Attorney for Debtor




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 12th day of February, 2021, I filed the foregoing
 FIRST APPLICATION FOR ALLOWANCE OF INTERIM FEES AND COSTS FOR
 COUNSEL electronically through the CM/ECF system, which caused the following parties to be
 served by electronic means, as more fully reflected on the Notice of Electronic Filing:

         Matthew T. Christensen                      mtc@angstman.com
         Chad R. Moody                               chad@angstman.com
         U.S. Trustee                                ustp.region18.bs.ecf@usdoj.gov
         Sheila R. Schwager                          sschwager@hawleytroxell.com
         Patrick J. Geile                            pgeile@foleyfreeman.com
         David A. Heida                              david@heidalawoffice.com

         Any others as listed on the Court’s ECF Notice.


                                                    /s/ Matt Christensen
                                                Matthew T. Christensen




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                                           EXHIBIT A

                                        SUMMARY SHEET

 Fees Previously Requested:                         NAME OF APPLICANT:
        $0.00                                       Matthew T. Christensen
 Fees Previously Awarded:
        $0.00                                       ROLE IN CASE: Attorney for Debtor
 Expenses Previously Requested:
        $0.00                                       CURRENT APPLICATION:
 Expenses Previously Awarded:
        $0.00                                       Fees Requested:     $ 48,036.50
 Retainer Paid: $27,768.00                          Expenses Requested: $ 2,041.46
                                                    Total Requested:    $ 50,077.96



                                           Hours Billed
           Name of               Years in         Current         Hourly       Total for
         Professional            Practice       Application         Rate      Application
  Matthew T. Christensen            16             26.00          $375.00      $9,750.00
  Matthew T. Christensen            16             46.10          $350.00     $16,135.00
  Chad R. Moody                      5             19.30          $250.00      $4,825.00
  Chad R. Moody                      5             64.40          $215.00     $13,846.00
  Melanie Anderson               Paralegal          8.90          $150.00      $1,335.00
  Melanie Anderson               Paralegal         13.80          $130.00      $1,794.00
  Megan Richmond                 Paralegal          0.60           $95.00       $57.00
  Abigail Stephens               Paralegal          3.10           $95.00       $294.50

                                                 Total Fees:    $ 48,036.50
                                                 Total Costs:   $ 2,041.46
                                                 TOTAL:         $ 50,077.96




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                                            ANGSTMAN JOHNSON
                                           MATTER ID/                                                                      EXACT
   DATE        PROF                                                                                     UNITS RATE
                                     DESCRIPTION NARRATIVE                                                                AMOUNT
CASE ADMINISTRATION
   9/18/2020   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      3.50   $350.00     $1,225.00
                      Finalize and file petition/schedules (1); finalize and file App to Employ
                      Angstman Johnson (.5); finalize and file cash collateral motion (2).
   9/18/2020    MR    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $95.00       $19.00
                      Update schedules with account numbers.
   9/21/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.10   $215.00      $21.50
                      Telephone call with Patt from bankruptcy court in Pocatello regarding
                      bankruptcy filing.
   9/21/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                      Follow up with staff on initial reporting deliverables.
   9/22/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                      Draft email to client providing instruction regarding DIP account.
   9/23/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.70   $215.00      $150.50
                      Begin working on initial reporting, client document reivew, and drafting
                      detailed email to client regarding guidelines and other requirements.
   9/24/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $215.00      $107.50
                      Conference call with MetLife's attorney regarding case and cash collateral.

   9/25/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.10   $215.00      $21.50
                      Telephone call with Sheila regarding sale of livestock at Calf Ranch.
   9/28/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                      Telephone call with Kim Williams, counsel for Tony and Tracey individually
                      regarding individual representation and questions about the automatic stay.

   9/28/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                      Receipt and respond to email from UST's office regarding IFR scheduling,
                      including related discussion with client.
   9/28/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.10   $215.00      $21.50
                      Receipt and respond to email from MetLife's counsel regarding site visit
                      scheduling.
   9/28/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $215.00      $107.50
                      Follow up on outstanding initial reporting requirements, including receipt and
                      reivew of DIP account related issues and telephone callas and email to client's
                      insurance broker.
   9/29/2020   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $350.00      $175.00
                      Discuss various issues with CRM.
   9/29/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                      Telephone call with Kim Williams about state litigation issues.
   9/30/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                      Analyze and revise Initial Reporting requirements and cover letter for client
                      reivew and signature.
   10/5/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.90   $215.00      $193.50
                      Telephone call with Young & Young attorney regarding staying the state court
                      case, including reviewing following up email and related conference with
                      Matt Christensen (.3); receipt and analyze proposed voluntary stay terms
                      provided by opposing counsel and revise proposed draft stipulation to to stay
                      proceedings (.6).
   10/8/2020   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $350.00      $70.00
                      Emails with Patrick Geile re: updates.
  10/13/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                      Conference call with Matt Christensen regarding IDI issues, including
                      discussion with client regarding the same.
  10/14/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      1.80   $215.00      $387.00
                      Initial debtor's interview, including related preparation and client follow up
                      after meeting.
  10/15/2020   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                      Follow up on pre-341 deliverables and related issues.
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 10/15/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $215.00      $107.50
                    Follow up on reporting requirements for client and related timelines, including
                    to receipt and response to communications (.4); receipt and review new
                    pleading concerning new creditors committee (.1).
 10/16/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      1.40   $215.00      $301.00
                    Receipt and respond to client regarding MOR meeting (.1); preparation for
                    341, including telephone call with client (.7); attend 341 initial hearing (.4);
                    draft email to client for 341 (.2).
 10/16/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      2.20   $215.00      $473.00
                    Attend continued 341 meeting.
 10/19/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.10   $215.00      $21.50
                    Draft email to Tracy regarding MOR in preparation for conference call.

 10/19/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Telephone call with Tony DeWit regarding schedule amendments.
 10/19/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      1.50   $215.00      $322.50
                    Conference call with client and Matt Christensen regarding 341 follow up,
                    cash collateral hearing, and MOR preparation.
 10/21/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Receipt and respond to client regarding operating report.
 10/22/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      2.70   $215.00      $580.50
                    Review and revise draft first operating report and supporting documents,
                    including detailed communications with client.
 10/23/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      1.00   $215.00      $215.00
                    Telephone call with Tracy regarding revising and finalizing the operating
                    report (.9), including drafting email to KeyBank MetLife, and UST with
                    weekly bank report (.1).
 10/23/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Telephone call with David Gadd regarding status of case and related
                    developments.
 10/28/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $215.00      $107.50
                    Receipt of email from UST office regarding insurance question and follow up
                    with client (.1); telephone call with Andrew Jorgensen regarding deliverable
                    and continued 341 meeting (.2); follow up on 341 deliverables for finalizing
                    amendments with Megan Richmond (.2).
 10/28/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.90   $350.00      $315.00
                    Tcw client re: updating schedules (.2); update schedules and send to client for
                    review/signature (.7).
 10/28/2020   MR    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $95.00       $19.00
                    Draft Order Approving Employment of Marketing Professional
 10/29/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $350.00      $105.00
                    Finalize and file Amended Schedules and email UST re: same.
 10/29/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Attend continued 341 meeting of creditors.
 10/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt and produce weekly report to counsel and UST.
 11/4/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt and respond to email from KeyBank's counsel regarding weekly
                    banking activity reports and follow up with client regarding the same.

 11/4/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Receipt of email from client regarding proceeds check and follow up with
                    Matt Christensen regarding the same (.2); draft email to client regarding
                    weekly banking reports (.1).
 11/5/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Review client weekly report and follow up with staff regarding outstanding
                    questions.
 11/10/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Draft email to client regarding requested information about expenses.
 11/11/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $350.00      $70.00
                    TCW client re: various issues
 11/11/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Follow up on deliverables for KeyBank, including related communications to
                    marketing professionals and Matt Christensen.
 11/16/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Review weekly report and provided check information, draft email to creditors
                    and UST regarding the same.
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 11/17/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $215.00      $107.50
                    Follow up with client and marketing professional regarding deliverable per
                    cash collateral order and KeyBank's requests, including reviewing and
                    responding to follow up communications (.3); draft response email to key
                    bank.
 11/19/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Call with staff regarding MOR draft; review weekly bank report and draft
                    email to creditors and UST.
 11/24/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.10   $215.00      $21.50
                    Telephone call and message to Jerad Crawford regarding deliverable.
 11/25/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      1.20   $215.00      $258.00
                    Analyze client's MOR draft and prepare for client call (.8); telephone call with
                    client regarding same (.2); finalized revised mor for filing (.2).
 11/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt and respond to emails from KeyBank's counsel and Dewit individuals'
                    counsel regarding modification document.
 11/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Receipt and respond to emails from client regarding creditor's committee and
                    UST fees.
 12/1/2020    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      3.50   $350.00     $1,225.00
                    Tcw Tony DeWit before and after re: Rule 2004 exam (.7); participate in
                    exam (2.8)
 12/4/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt of weekly bank reports and draft email to creditors and UST regarding
                    the same.
 12/8/2020    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.40   $350.00      $140.00
                    Tcw client (.2) and Alex Caval (.2) re: sale and state court litigation.
 12/14/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.40   $215.00      $86.00
                    Follow up on MetLife questions as to rent checks and draft email to Patrick
                    Geile regarding the same (.2); receipt and respond to email from client
                    regarding rent checks (.1); draft email to Matt Christensen regarding the same
                    (.1).
 12/15/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.90   $350.00      $315.00
                    Research outstanding claims for balance of creditors to be paid (.4); telephone
                    call with client re: various issues (.5).
 12/15/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.10   $215.00      $21.50
                    Draft email to creditors regarding bank statement.
 12/15/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Draft email to Creditor's Committee counsel regarding IRR.
 12/16/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt and response to email from client regarding DIP account.
 12/17/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Analyze draft monthly reporting.
 12/17/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt, review, and deliver weekly banking activity report.
 12/18/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.50   $350.00      $175.00
                    Tcw client re: various topics.
 12/22/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.90   $215.00      $193.50
                    Analyze and follow up on monthly report (.5); telephone call with client
                    regarding monthly report and asset sale (.4).
 12/24/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $215.00      $43.00
                    Receipt, review, and transmit client weekly banking report.
 12/28/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Receipt and review email from UST and draft email to client regarding the
                    same.
 12/29/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $215.00      $64.50
                    Receipt and evaluate client feedback regarding UST requests and inquiries.

  1/4/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $250.00      $50.00
                    Receipt of client email regarding budget and follow up with Matt Christensen;
                    draft response email to the client.
  1/4/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.20   $250.00      $50.00
                    Draft email regarding weekly banking report.
  1/5/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.30   $375.00      $112.50
                    Telephone call with Amber Dina re: various issues.
  1/7/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                      0.90   $375.00      $337.50
                    Telephone call with client (.6); telephone call with Amber Dina (.3).
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 1/7/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.60   $250.00      $150.00
                   Analyze client spreadsheet analysis re: UST budget questions and clean up
                   activities, including drafting email to Matt Christensen.
 1/8/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.20   $250.00      $300.00
                   Analyze client reports and documents for response to UST inquires, including
                   conference with Matt Christensen regarding client budget and deliverables
                   and related communications to client.
 1/11/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.50   $375.00      $187.50
                   Discuss document requests and Mtn to Appoint Ch 11 Trustee with CRM (.3);
                   various emails to counsel re: purchase offer and use of funds (.2).

 1/11/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.20   $250.00      $300.00
                   Strategy conference with Matt Christensen regarding upcoming hearing (.3);
                   telephone call with Tony Dewit regarding budget actual comparison (.5);
                   receipt, analyze, and respond email from Key Bank's counsel regarding
                   various budget questions and drafting follow up email to client regarding the
                   same (.4).
 1/12/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.10   $250.00      $275.00
                   Receipt, analyze, and finalize client' budget comparison report per creditor
                   inquiries and court order and transmit to interested parties; review and
                   respond emails from Key Bank Counsel regarding questions about reports.

 1/13/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.80   $250.00      $200.00
                   Analyze client provided documents and responses to Key Bank inquiries
                   regarding banking activity and draft responsive email to Key Bank's counsel.

 1/13/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30   $375.00      $112.50
                   Strategize various issues with CRM
 1/14/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     2.10   $375.00      $787.50
                   Telephone call with clients (.8); prepare question list for upcoming hearing
                   (.6); review docs and send to other counsel in prep for hearing (.7).

 1/15/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.90   $375.00      $712.50
                   Review responses to Ch. 11 Trustee motion (.5); tcw Amber Dina re: same
                   (.2); emails with SSchwager re: same (.2); tcw PGeile re: same (.3); tcw client
                   re: same (.5); email MR re exhibits for hearing (.2).
 1/19/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20   $250.00      $50.00
                   Telephone call with Evan Roth regarding proposed meeting between debtor
                   and potential buyers' counsel.
 1/19/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     6.90   $375.00     $2,587.50
                   Prepare for Ch. 11 Trustee hearing, including reviewing all exhibits (2.2);
                   Tcw client before/after hearing (.4); attend hearing (4.3)
 1/19/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.10   $250.00      $25.00
                   Send weekly banking report to creditor's counsel.
 1/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30   $250.00      $75.00
                   Work on revised side by side comparison report.
 1/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20   $250.00      $50.00
                   Receipt and review monthly report drafts and draft email to Tracy Wilhelm
                   regarding the same.
 1/20/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.50   $375.00      $187.50
                   Discuss various hearing issues with CRM; emails with Clay Nannini re:
                   offers.
 1/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.80   $250.00      $200.00
                   Work on revised exhibits for motion to appoint trustee, including related
                   communications with Tracy Wilhelm.
 1/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.50   $250.00      $375.00
                   Review and finalize monthly report from client, including relate telephone call
                   and email communications with client (1.5); prepare for the upcoming
                   continued hearing (1.0).
 1/21/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.00   $375.00      $375.00
                   Work on side-by-side budget comparison for 1/22 hearing (1).
 1/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.40   $250.00      $100.00
                   Research professional fees for monthly report and related telephone call with
                   Tony DeWIt regarding the same; revise report per that call and draft
                   confirming email to client.
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   1/22/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     2.10    $375.00      $787.50
                     Pre- and post-hearing phone calls with client (.6) and attend hearing on Ch. 11
                     Trustee.
   1/25/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.40    $375.00      $150.00
                     Telephone call with client and Mark Brady re: taxes and sale.
   1/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.10    $250.00      $25.00
                     Receipt of information from client and follow up on reporting with Matt
                     Christensen.
   1/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.10    $250.00      $25.00
                     Transmit the weekly report form debtor to creditors and UST.
   1/29/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20    $250.00      $50.00
                     Weekly bank report emails, including follow up with client regarding the
                     same.
                                                                                            Total:     62.80              $17,951.50
ASSET ANALYSIS AND RECOVERY
   9/25/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30    $215.00      $64.50
                     Investigate potential proceeds held by Magic Valley COOP, including related
                     emails with client and telephone calls to the Coop.
   9/28/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20    $215.00      $43.00
                     Receipt of message from and telephone call to Tim Stover, counsel for Magic
                     Valley Quality Milk Coop regarding held funds and milk contract
                     assignments.
   9/29/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.40    $215.00      $86.00
                     Telephone call with Tim Stover regarding milk proceeds question (.2); analyze
                     provided document and draft follow up email to Tim Stover (.2).

   9/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30    $215.00      $64.50
                     Receipt and respond to emails from Tim Stover regarding Magic Valley Coop
                     funds, including reviewing provided documents.
                                                                                            Total:     1.20                $258.00
ASSET DISPOSITION
   9/24/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.10    $215.00      $236.50
                     Investigate milk assignment, message to MetLife counsel, and related research
                     and consultation with matt Christensen.
   9/25/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20    $215.00      $43.00
                     Receipt of message from Evan Roth concerning possible buyer for DeWit
                     Dairy and related telephone call and message to Mr. Roth; .
   9/28/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30    $350.00      $105.00
                     Review dairy property with client.
   9/29/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.40    $215.00      $86.00
                     Draft follow up email to Brian WIlliams regarding Treyes Calf Ranch payoff
                     (.1); receipt and respond to email from KeyBank's counsel regarding Calf
                     Ranch lien and and livestock sale, including related communications with
                     client (.2); follow up call to Brian Williams regarding lien payoff (.1).

   9/29/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.80    $215.00      $172.00
                     Telephone call with Lee (the buyer) about calf ranch livestock purchase (.2);
                     receipt and review email and invoice from Treyes Calf Ranch, including
                     telephone call with Brian Williams concerning invoice and sale of livestock
                     (.2); draft and respond to emails with KeyBank's counsel and client regarding
                     the same (.4).
   9/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20    $215.00      $43.00
                     Receipt and respond to email from client regarding livestock sale issues,
                     including responding and following up on additional communications with
                     KeyBank and client concerning the sale.
   9/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     2.30    $215.00      $494.50
                     Numerous telephone calls and emails with Livestock buyer, counsel for
                     feedlot, client, and KeyBank counsel an in coordinating livestock sale,
                     negotiating payoff, potential sale price issues, and lien release.
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 10/1/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    1.10   $215.00      $236.50
                    Receipt and respond to email from buyer about wire instructions and invoice
                    for Treyes feed lien, including draft email regarding the same to Treyes'
                    attorney (.3); telephone call with Treyes' attorney and draft email to client
                    regarding the sale (.3); receipt and respond to multiple client communication,
                    including telephone call concerning status of sale and livestock issues (.3);
                    receipt of email and telephone calls from opposing counsel about finalizing
                    sale and confirming payment of lien (.2).

 10/5/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.40   $215.00      $86.00
                    Draft emails to client and Treyas' counsel regarding Friday's sale, including
                    receipt of and follow up on responses and drafting email to KeyBank's counsel
                    concerning the same.
 10/21/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.60   $215.00      $129.00
                    Work on motion to sell equipment.
 10/22/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    1.20   $215.00      $258.00
                    Continue preparing motion to sell equipment, including related research and
                    review of stipulation between KeyBank and Debtor.
 10/22/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    1.30   $350.00      $455.00
                    Finalize and file Motion to Sell Equipment.
 10/26/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.20   $215.00      $43.00
                    Reciept and respond to client email regarding equipment sale.
 10/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.20   $215.00      $43.00
                    Telephone call with client regarding developments with new interested buyer
                    regarding COOP and related conference with Matt Christensen.
 10/30/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.30   $215.00      $64.50
                    Receipt of message from equipment buyer and telephone call with same.

 11/9/2020    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.30   $350.00      $105.00
                    Tcw Evan Roth re: potential buyer.
 11/19/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.30   $215.00      $64.50
                    Investigate equipment sale motion and related issues and conference with
                    Melanie Anderson regarding preparation of Order and report of sale.

 11/20/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.50   $215.00      $107.50
                    Telephone call with marketing professional regarding potential buyer.
 12/1/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.10   $215.00      $21.50
                    Follow up on issues related to property sale and setting up meeting with
                    marketing professional.
 12/3/2020    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.60   $215.00      $129.00
                    Conference call with marketing professional regarding status of property sale.

 12/21/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.50   $350.00      $175.00
                    Telephone call with Evan Roth re: potential sale of property.
 12/23/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.20   $215.00      $43.00
                    Meeting Matt Christensen regarding property sale developments and other
                    reporting issues.
 12/23/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.50   $350.00      $175.00
                    Tcw Tony Dewit and Clay Nannini re: sale potentials.
 1/19/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.20   $250.00      $50.00
                    Receipt and respond to email from client regarding information for reports of
                    sale, including follow up on report of sale preparation.
 1/20/2021    MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    1.00   $150.00      $150.00
                    Prepared report of Sale and sent correspondence to client regarding
                    verification documents and clarifying the description of the International
                    mixer truck
 1/20/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.20   $250.00      $50.00
                    Work on equipment sale issues.
 1/21/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    1.50   $375.00      $562.50
                    Telephone call with client, Clay Nannini and Evan Roth re: sale procedures
                    and potential offers.
 1/22/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    3.00   $375.00     $1,125.00
                    Multiple phone calls and emails with client re: sale.
 1/22/2021    MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    0.70   $150.00      $105.00
                    Reviewed schedules and documents reflecting equipment debtor sold
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   1/26/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.20    $150.00      $30.00
                     Reviewed email correspondence between trustee and our firm and sent follow
                     up communication to client regarding finalizing the report of sale
   1/28/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.80    $375.00      $300.00
                     TCW Evan Roth re: coordinating MVQMP meeting with auction and other
                     issues (.5); emails with client re: sale motion (.3).
   1/29/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.60    $150.00      $90.00
                     Revised Report of Sale
   1/29/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         2.30    $375.00      $862.50
                     Telephone call with client and Realtor re: sale motion and sale negotiations
                     (.5); tcw Mark Brady re: tax estimate (.3); tcw client re: creditor list (.2); work
                     on creditor list for sale motion (1.3).
   1/30/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         1.50    $375.00      $562.50
                     Prepare draft Mtn to Approve Sale and Notice of Sale (1.2); review and
                     redline proposed Stip Re Ch 11 Trustee (.3).
                                                                                                Total:     25.60               $7,203.00
RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
   9/24/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.30    $350.00      $105.00
                     Review Stip for Stay Relief from S. Schwager and authorize /s/ signature.

   9/24/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         1.20    $215.00      $258.00
                     Conference call with KeyBank and counsel, Tony DeWit, and Matt
                     Christensen concerning cash collateral and related budget issues.
   9/28/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.10    $215.00      $21.50
                     Conference with Matt Christensen regarding stay relief and motion to sell.

   9/28/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         3.00    $215.00      $645.00
                     Prepare for stay relief hearing and proposed sale of livestock at calf ranch,
                     including multiple telephone calls and emails with KeyBank's counsel,
                     potential livestock buyer, and client all related to stay relief hearing, terms of
                     proposed sale, payments of feed invoice, potential issue over form of payment
                     (1.8); attend stay relief hearing (.4); post-hearing follow up calls and email
                     with client regarding deliverables (.5); analyze, revise and finalize proposed
                     order re: stay relief, including related telephone call with counsel for KeyBank
                     (.3).
   9/28/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.80    $215.00      $172.00
                     Telephone call to Treyes Calf Ranch's counsel, Williams, Meservy & Larsen,
                     LLP, Brian Williams, regarding final invoice; draft follow emails concerning
                     the same to Mr. Williams and the client.
   11/2/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.30    $215.00      $64.50
                     Analyze response deadlines related to KeyBank motion for stay relief, pending
                     order regarding cash collateral, and related follow up regarding strategy with
                     Matt Christensen concerning the same.
                                                                                                Total:     5.70                $1,266.00
MEETINGS OF AND COMMUNICATIONS WITH CREDITORS
  10/16/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         2.00    $350.00      $700.00
                     Attend continued 341 meeting.
  10/29/2020   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.60    $350.00      $210.00
                     Telephone call with Andrew Jorgensen re: 341 meeting (.1); participate in
                     continued 341 meeting (.5).
                                                                                                Total:     2.60                $910.00
FEE/EMPLOYMENT APPLICATIONS
   9/21/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.20    $215.00      $43.00
                     Follow up on finalizing motion to employ broker (Clay Nannini).
   9/21/2020   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.20    $130.00      $26.00
                     Email correspondence to client following up on Application to employ
                     Nannini
   9/22/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.20    $215.00      $43.00
                     Finalize application to employ broker.
   9/23/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.20    $215.00      $43.00
                     Draft email to Mark Brady regarding possible employment.
  10/13/2020   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.20    $215.00      $43.00
                     Receipt and respond to email from Mark Brady regarding employment.
  10/19/2020   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                         0.50    $130.00      $65.00
                     Drafted Statement of No Objection and proposed Order
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  10/28/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.30   $215.00      $64.50
                        Follow up on status of motion to employ marketing professional, review and
                        revise proposed order.
   11/2/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.10   $215.00      $21.50
                        Draft email to marketing professional regarding approval of employment.

  12/29/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.10   $215.00      $21.50
                        Review new order from court regarding counsel application for creditor
                        committee.
   1/5/2021      AS     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       1.30   $95.00       $123.50
                        Draft First Fee App docs.
   1/20/2021     AS     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       1.80   $95.00       $171.00
                        Draft and prepare Exhibit B to fee application (1.5); update pleading and other
                        exhibits for attorney review (.3).
   1/25/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.40   $250.00      $100.00
                        Work on employment application and related issues for the employment of
                        Mark Brady as accountant.
   1/25/2021    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       2.00   $150.00      $300.00
                        Prepared draft Application for Employment and Verified Statement of
                        Accountant for Mark Brady, contacted Mark Brady's office to follow up on
                        information we need to complete the Application
   1/26/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.30   $250.00      $75.00
                        Review and revise draft application to employ Mark Brady and follow up on
                        related issues.
   1/26/2021    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.20   $150.00      $30.00
                        Reviewed communication from attorney and sent email communication to
                        accountant regarding the status of the fee application
   1/27/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.20   $250.00      $50.00
                        Follow up on application to employ Mark Brady and finalize for filing.
   1/28/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.20   $250.00      $50.00
                        Telephone call with Mark Brady regarding employment.
                                                                                                  Total:    8.40               $1,270.00
OTHER CONTESTED MATTERS
  Case No. 20-40734-JMM In re: DeWit Dairy - Chapter 11 Bankruptcy
   9/18/2020    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.40   $130.00      $52.00
                        Finalized all of the Notices of Bankruptcy Filings to be filed in the state court
                        proceedings
   9/21/2020    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       2.00   $130.00      $260.00
                        Reviewed cases cited in the Memo in Support of Memo for TRO and checked
                        for any negative treatment, and revised the Memo, Motion, Complaint and
                        Affidavits
   9/29/2020    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.50   $130.00      $65.00
                        Prepared Complaint for Injunctive Relief
   9/29/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.30   $215.00      $64.50
                        Analyze judgments entered in Apex matter, strategy conference with Matt
                        Christensen and telephone call with Debbie Hamilton from Brian Smith's
                        office about default judgment and setting up call with Mr. Smith.

   9/30/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.30   $215.00      $64.50
                        Review and revise Affidavit for Tony supporting PI/TRO.
   10/1/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.40   $215.00      $86.00
                        Analyze issues related to Young & Young litigation and J&C litigation,
                        including related follow up with David Gadd and Tyler Rand concerning
                        voluntary stay of litigation.
  10/13/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       1.50   $350.00      $525.00
                        Prepare for and attend hearing on TROs in separate adversary proceedings,
                        includes time for phone calls with client before/after hearing.

  10/23/2020    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.20   $130.00      $26.00
                        Prepared Notice of Name and Address Change
   11/9/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.10   $215.00      $21.50
                        Receipt and respond to message from Kim Williams regarding affidavit and
                        upcoming hearings on TRO/PI.
  11/19/2020    MA      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                       0.40   $130.00      $52.00
                        Analyzed Motion for 2004 Exam and documents Metlife is requesting Tony
                        DeWit produce. Sent email correspondence asking for clarification
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 11/19/2020    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     2.90   $130.00      $377.00
                      Drafted proposed Order for Sale of Equpiment
 11/20/2020    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.80   $130.00      $104.00
                      Drafted Report of Sale Template for future sales of equipment
 11/30/2020   CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.10   $215.00      $21.50
                      Receipt and review new litigation documents filed by CSC Gold.
 12/1/2020     MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20   $130.00      $26.00
                      Email communication regarding realtor
 12/7/2020     MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.40   $130.00      $52.00
                      Finalized Order Approving Sale of Equipment; sent email correspondence to
                      the court enclosing proposed order
 12/8/2020     MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.60   $130.00      $78.00
                      Reviewed email correspondence from court reporter and drafted
                      correspondence to client enclosing transcript and change sheet
 12/15/2020   CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20   $215.00      $43.00
                      Review new pleading filed by MetLife requesting appointment of trustee.

 12/16/2020   CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20   $215.00      $43.00
                      Communications with Matt Christensen regarding developments in case
                      concerning Metlife motion to appoint trustee.
 1/11/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30   $250.00      $75.00
                      Begin working on objection to motion to appointment trustee.
 1/12/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     6.90   $250.00     $1,725.00
                      Detailed analysis of MetLife's motion, court filings, and 2004 Examination
                      and continue drafting and revising objection to motion to appointment trustee,
                      including strategy conference with Matt Christensen.

 1/13/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.40   $250.00      $100.00
                      Review new pleadings and order filed in relation to MetLife's motion to
                      appointment trustee.
 1/15/2021     MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     2.00   $150.00      $300.00
                      Compiled exhibits, drafted exhibit list, and delivered exhibits per court order
                      from the court
 1/19/2021     MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     2.20   $150.00      $330.00
                      Reviewed evidence and prepared initial responses to Creditor Committee's
                      discovery request
 1/19/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.30   $250.00      $75.00
                      Receipt of email from KeyBank's counsel and investigate client reports and
                      court orders for purposes of rebuttal evidence for hearing.
 1/20/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     0.20   $250.00      $50.00
                      Follow up on discovery responses from client.
Case No. CV24-20-00415 In re: Young & Young Leasing, LLC v. DeWit Dairy, et al
 9/29/2020    CRM     14260-003 - Dewit Dairy v. Young&Young                                            0.10   $215.00      $21.50
                      Draft email to Young & Young counsel regarding voluntary stay of state
                      litigation.
 10/6/2020     MA     14260-003 - Dewit Dairy v. Young&Young                                            1.20   $130.00      $156.00
                      Drafted Joint Motion Re Stay
Adv. Case No. 20-08061-JMM In re: DeWit Dairy v. CSC Gold
 9/21/2020    MTC     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                  2.80   $350.00      $980.00
                      Prepare Affidavit of Tony DeWit (1.3); review and finalize all docs (1);
                      prepare cover sheet and summons and file all docs (.5).

 9/21/2020    CRM     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                  4.60   $215.00      $989.00
                      Draft adversary pleadings regarding CSC Gold: complaint, motion,
                      memorandum, affidavits, proposed order, and required notices, including all
                      related communications.

 9/22/2020     MA     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                  0.70   $130.00      $91.00
                      Contacted the clerk (via phone and email) regarding the hearing set on 9/22,
                      drafted a Notice of Temporary Restraining Order,

 9/22/2020    CRM     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                  1.10   $215.00      $236.50
                      Review and revise notice for filing in CSC case regarding TRO; draft email to
                      state court clerk regarding notice and status of hearings; draft email to
                      opposing counsel regarding TRO and stipulation; draft emails to other
                      opposing counsel concerning state litigations.
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 11/4/2020    MTC     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                    0.40   $350.00      $140.00
                      Tcw client re: depo prep.

 11/4/2020    MTC     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                    2.50   $350.00      $875.00
                      Prepare for and attend deposition; tcw client afterward (.2).

 11/9/2020    MTC     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                    0.50   $350.00      $175.00
                      Tcw client to discuss 11/10 testimony.

 11/10/2020   MTC     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                    3.20   $350.00     $1,120.00
                      Prepare for, attend, and meet with clients after hearing on Preliminary
                      Injunction.

  1/5/2021     MR     14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                    0.20   $95.00       $19.00
                      Draft Stipulation to Dismiss and Order to Dismiss.

Adv. Case No. 20-08063-JMM In re: DeWit Dairy v. Apex Agricultural Extension Products, LLC
 9/29/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                2.60   $215.00      $559.00
                      Receipt and review default order from Apex, related telephone calls with Tony
                      Dewit, Kim Williams, Apex's counsel's office, and begin preparing adversary
                      pleadings to obtain PI/TRO.

 9/29/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                2.50   $215.00      $537.50
                      Strategy conference with Matt Christensen regarding Apex litigation,
                      including drafting objection pleading and related communications with client,
                      Apex counsel's office, and Kim Williams regarding the same.

 9/30/2020     MA     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                1.00   $130.00      $130.00
                      Prepared Motion to Set Aside and supporting Memo, updated Motion for TRO
                      and supporting documents based on the entry of the default judgment


 9/30/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                1.40   $215.00      $301.00
                      Telephone call with Bryan Smith regarding Apex litigation, including related
                      telephone call with client and Kim Williams regarding the same and strategy
                      discussion with Matt Christensen.

 10/1/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                3.50   $215.00      $752.50
                      Conference with Matt Christensen regarding partnership liability and
                      preliminary injunction strategies (.4); revise and finalize adv. proceeding
                      pleadings against Apex (2.8); assist staff in finalizing adversary pleadings
                      including obtaining client affidavit for filing (.3).

 10/1/2020    MTC     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                1.10   $350.00      $385.00
                      Research re: partner liability for partnership debts (.6); research re: joint and
                      several liability and stay issues (.5).

 10/5/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                0.20   $215.00      $43.00
                      Follow up on status of TRO; review TRO issued by court and send to Kim
                      Williams.

 10/5/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                0.30   $215.00      $64.50
                      Follow up on TRO notice to state court, including developing strategies
                      related thereto.

 10/5/2020     MA     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                0.80   $130.00      $104.00
                      Prepared Joint Motion to Stay

 10/13/2020   CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                0.30   $215.00      $64.50
                      Conference with Matt Christensen regarding TRO/PI issues, including
                      telephone call with client regarding the same.

 11/10/2020    MA     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                1.00   $130.00      $130.00
                      Revised and finalized Affidavit in Support of Motion to Set Aside
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  11/10/2020    CRM     14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC                 0.90    $215.00      $193.50
                        Draft and revise affidavit regarding default judgment in state court case.



                                                                                                  Total:    56.70               $12,683.50
BUSINESS OPERATIONS
   9/21/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.60    $350.00      $210.00
                        Telephone call with client (.4); email to S. Schwager (.2)
   9/22/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        2.80    $350.00      $980.00
                        Various tcw and emails with client, S. Schwager and US Trustee re cash
                        collateral motion.
   9/23/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        2.30    $350.00      $805.00
                        More phone calls and emails with client and Sheila Schwager (2); participate
                        in court hearing (continued to 9/25) (.3)
   9/24/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        4.10    $350.00     $1,435.00
                        Time reviewing emails and working on spreadsheets of income and expenses
                        (1.4); review vehicle titles and email client re: same (.5); participate in phone
                        call with client and KeyBank people (1.1); phone call with SSchwager and
                        UST (.7); phone call with PGeile (.4).
   9/25/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.60    $215.00      $129.00
                        Consult with Matt Christensen in preparation for cash collateral hearing,
                        including related analysis of communications from UST, MetLife, and
                        KeyBank counsel.
   9/25/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        2.00    $350.00      $700.00
                        Emails and phone calls prior to hearing (.5); participate in hearing on cash
                        collateral (1); tcw client after hearing (.3); review and revise proposed cash
                        collateral order (.2).
   9/25/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.20    $215.00      $43.00
                        Analyze proposed order regarding intrim use of cash collateral.
   10/6/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        1.70    $350.00      $595.00
                        Review and update docs from SSchwager re: cash collateral (.4); emails with
                        client re: requests from MetLife (.3); integrate changes to cash collateral
                        order, finalize and submit to Court (.3); update cash collateral budget and
                        additional emails with Schwager re: stipulation and motion (re further cash
                        collateral use) (.7)
  10/15/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.20    $350.00      $70.00
                        Review emails and approve side-by-side report.
  10/19/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.30    $350.00      $105.00
                        Participate in phone call with client.
  10/20/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        2.30    $350.00      $805.00
                        Travel to/from and attend court hearing re: cash collateral (includes time to
                        meet with client before/after hearing).
  10/22/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.80    $350.00      $280.00
                        Prepare and circulate draft final cash collateral order.
  10/28/2020    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.30    $350.00      $105.00
                        Exchange emails re: cash collateral order.
                                                                                                  Total:    18.20                $6,262.00
CLAIMS ADMINISTRATION AND OBJECTIONS
  12/21/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.20    $215.00      $43.00
                        Research Young and Young lease issues per client request.
  12/21/2020    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.30    $215.00      $64.50
                        Telephone call with Alex Caval regarding plan issues and proof of claim
                        strategies regarding state court litigation.
   1/25/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        0.50    $250.00      $125.00
                        Legal research regarding prepayment premiums in proofs of claim, in
                        analyzing MetLife's POC.
                                                                                                Total:       1.00                $232.50
                                                                                          Grand Total:      182.20              $48,036.50

COSTS
  Case No. 20-40734-JMM In re: DeWit Dairy - Chapter 11 Bankruptcy
   9/18/2020            14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        1.00    $350.00      $350.00
                        Filing fees
   9/23/2020            14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                        1.00    $195.50      $195.50
                        Vehicle Title Search
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 10/2/2020            14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.00    $10.50        $10.50
                      Postage.
 10/22/2020           14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                    53.00     $0.50        $26.50
                      Postage (Mtn/Notice of Sale).
 10/30/2020           14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.00    $31.00        $31.00
                      Filing fees-Amended Schedules
 10/30/2020           14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.00    $31.00        $31.00
                      Filing amended schedule
 12/7/2020            14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.00    $308.78      $308.78
                      Service of Process- 2004 Exam of Tony Dewit
Adv. Case No. 20-08061-JMM In re: DeWit Dairy v. CSC Gold
 10/5/2020            14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                     1.00    $350.00      $350.00
                      Filing fees - Complaint (20-08061-JMM)
 11/17/2020           14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                  1.00    $194.09      $194.09
                      Service of Process-Tony DeWit- DeWit Dairy

 11/17/2020           14260-004 - Adv. Case No. 20-08061-JMM | Dewit Dairy v. CSC Gold                  1.00    $194.09      $194.09
                      Deposition Transcripts

Adv. Case No. 20-08063-JMM In re: DeWit Dairy v. Apex Agricultural Extension Products, LLC
 10/5/2020            14260-005 - Dewit Dairy v. Apex Agricultural Extension Products, LLC              1.00    $350.00      $350.00
                      Filing fees Complaint (20-08063-JMM)

                                                                                       Total:           63.00               $2,041.46
                                                                               GRAND TOTAL:            245.20              $50,077.96


              MTC                                Matthew T. Christensen                                26.00    $375.00      $9,750.00
              MTC                                Matthew T. Christensen                                46.10    $350.00     $16,135.00
              CRM                                   Chad R. Moody                                      19.30    $250.00      $4,825.00
              CRM                                   Chad R. Moody                                      64.40    $215.00     $13,846.00
              MA                                   Melanie Anderson                                     8.90    $150.00      $1,335.00
              MA                                   Melanie Anderson                                    13.80    $130.00      $1,794.00
               MR                                  Megan Richmond                                       0.60     $95.00        $57.00
               AS                                  Abigail Stephens                                     3.10     $95.00       $294.50
                                                                                                       182.20               $48,036.50

                      Note: the Filing Fee for the 20-08061 Adversary Case was actually paid post-
                      petition, not pre-petition as was listed in the Application to Employ. Those
                      funds were removed from the client trust account pre-petition, but were
                      replaced in the trust account after the petition was filed, based on the post-
                      petition filing date for the adversary case.
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                                                EXHIBIT C

                                          NARRATIVE SHEET

                         Information Requested                         Information Given
  I.            BACKGROUND:
                The background information of the
                bankruptcy case, to the best of
                Applicant’s knowledge is as follows:
  A.            Date the bankruptcy petition was filed.    September 18, 2020.
  B.            Date of the “Order Authorizing             October 20, 2020.
                Employment of Counsel”.
  C.            Date services commenced.                September 18, 2020.
  D.            Rate Applicant charges its non-         Same as bankruptcy clients: $215.00-
                bankruptcy clients for similar services.$375.00 per hour for attorneys; $95.00-
                                                        $175.00 per hour for paralegals.
  E.            Application is final or interim.        Interim.
  F.            Time period of the services or expenses September 18, 2020 through January 31,
                covered by the Application.             2021.

  II.           CASE STATUS:
                To the best of the Applicant’s
                knowledge, the financial condition and
                status of the case is as follows:
  A.            The amount of case on hand or on           The sum of $27,768.00 is presently being
                deposit in the estate.                     held in a trust account with Angstman
                                                           Johnson.
  B.            Amount and nature of accrued unpaid,       To the best of the Applicant’s knowledge,
                administrative expenses.                   the only other unpaid administrative
                                                           expenses are those of the estate’s other
                                                           professionals. To date, the estate has not
                                                           retained any other professionals.
  C.            The amount of unencumbered funds in        The Applicant currently holds
                the estate.                                approximately $27,768.00 in a client Trust
                                                           account, which will not be sufficient to pay
                                                           the fees and expenses requested, leaving a
                                                           balance of $0.00 in the trust account. The
                                                           remaining amount will be paid by the
                                                           Debtor on an ongoing basis.

  III.          PROJECT SUMMARY:
                Description of each professional
                project or task for which compensation
                and reimbursement is sought.
  A.            Description of projects.                   See Exhibit B attached hereto for a detailed
                                                           description of what has been performed on


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                                                behalf of the estate by the applicant and the
                                                fees and costs incurred in these projects.
                                                The project categories included: Case
                                                Administration, Asset Analysis and
                                                Recovery, Asset Disposition, Relief from
                                                Stay/Adequate Protection Proceedings,
                                                Meetings of and Communications with
                                                Creditors, Fee/Employment Applications,
                                                Other Contested Matters, Business
                                                Operations, and Claims Administration and
                                                Objections.
  B.        Necessity of projects.
                                                Case Administration was necessary in
                                                order to discuss various items with the
                                                client and other parties, as well as prepare
                                                and file required reports (MORs) and
                                                respond to various motions.

                                                Asset Analysis and Recovery was
                                                necessary in order to evaluate potential
                                                claims and issues in order to recover assets
                                                for the estate.

                                                Asset Disposition was necessary in order
                                                to maintain and collect documents
                                                regarding the potential sale of the Debtor’s
                                                assets and to prepare and file sale motions.

                                                Relief from Stay/Adequate Protection
                                                Proceedings was necessary in order to
                                                determine the applicable adequate
                                                protection payments to be made.

                                                Meetings of and Communications with
                                                Creditors was necessary in order to
                                                prepare for and attend the 341(a) Meeting
                                                of Creditors.

                                                Fee/Employment Applications was
                                                necessary in order to draft and prepare
                                                applications to employ a marketing
                                                professional, an accountant, and draft this
                                                first fee application.

                                                Other Contested Matters was necessary
                                                in order to represent the Debtor in separate



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                                                          adversary proceedings. The proceedings
                                                          include two proceedings initiated by the
                                                          Debtor for injunctive relief to allow the
                                                          Debtor’s principal owners to focus on
                                                          getting the Debtor’s property sold and plan
                                                          confirmed, rather than defending
                                                          themselves personally. In both cases,
                                                          temporary restraining orders were issued,
                                                          followed by resolutions between the
                                                          Debtor, the principals and the specific
                                                          creditors.

                                                          Business Operations was necessary in
                                                          order to prepare for and attend a hearing on
                                                          the Motion for Cash Collateral as well as
                                                          deal with ongoing business operation
                                                          issues of the Debtor.

                                                          Claims Administration and Objections
                                                          was necessary in order to review claims
                                                          filed and evaluate potential objections to
                                                          those claims.

  C.            Benefit of projects to the estate.        The projects have allowed the Debtor to
                                                          prepare and file required reports, maintain
                                                          documents for asset sales, attend required
                                                          meetings, draft various applications and
                                                          motions, keep the owners’ focused on the
                                                          Chapter 11 proceeding, and otherwise
                                                          continue cleanup operations to get the
                                                          property sold.
  D.            Status of project.                        Interim.
  E.            Identification of each person providing   See the attached Exhibit A.
                services on the projects.
  F.            Number of hours spent, and the amount     See the attached Exhibit A.
                of compensation requested for each
                professional and para-professional.
  G.            Itemized time and services entries.       See the attached Exhibit B.




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